                                                                    Case 4:14-cr-00094-YGR Document 80 Filed 09/14/20 Page 1 of 2




                                                             1   JULIA M. JAYNE (State Bar No. 202753)
                                                                 ASHLEY RISER (State Bar No. 320538)
                                                             2   E-Mail: julia@jaynelawgroup.com
                                                                 JAYNE LAW GROUP, P.C.
                                                             3
                                                                 483 9th St, Suite 200
                                                             4   Oakland, Ca 94607
                                                                 Phone: (415) 623-3600
                                                             5   Fax: (415) 623-3605

                                                             6   Attorneys for Defendant
                                                                 CLARENCE LEE ANDREWS
                                                             7

                                                             8                                UNITED STATES DISTRICT COURT

                                                             9                               NORTHERN DISTRICT OF CALIFORNIA

                                                            10
                                                                 UNITED STATES OF AMERICA,                            CASE NO. CR 14-094 YGR
                                                            11
          JAYNE LAW GROUP, P.C.




                                                                                Plaintiff,                            NOTICE OF ATTORNEY
                                                            12                                                        APPEARANCE OF ASSOCIATE
                                                                                                                      COUNSEL FOR DEFENDANT
                              OAKLAND, CALIFORNIA 94607




                                                                        v.
                                483 9TH STREET, SUITE 200




                                                            13                                                        CLARENCE LEE ANDREWS
LAW OFFICES




                                                            14   CLARENCE LEE ANDREWS,

                                                            15                     Defendant.
                                                            16

                                                            17

                                                            18          TO THE COURT, UNITED STATES, AND DEFENSE COUNSEL:
                                                            19          PLEASE TAKE NOTICE that Clarence Lee Andrews hereby files this Notice of
                                                            20   Appearance to advise the court that attorney Ashley Riser should be added to the docket as
                                                            21   associate counsel on behalf of Defendant Clarence Lee Andrews. Please include Ashley Riser in
                                                            22   all future correspondence, pleadings, and notices.
                                                            23          Ashley Riser’s information is as follows:
                                                            24          Ashley Riser
                                                                        483 9th St, Suite 200
                                                            25          Oakland, Ca 94607
                                                                        Email: ashley@jaynelawgroup.com
                                                            26          Phone: (415) 623-3600
                                                                        Fax: (415) 623-3605
                                                            27

                                                            28
                                                                                                                              NOTICE OF ATTORNEY APPEARANCE
                                                                                                                                          Case No. CR 14-094 YGR
                                                                    Case 4:14-cr-00094-YGR Document 80 Filed 09/14/20 Page 2 of 2




                                                             1   DATED: September 14, 2020       Respectfully submitted,

                                                             2                                   JAYNE LAW GROUP, P.C.
                                                             3

                                                             4                                   By:                     /s/
                                                             5                                         JULIA MEZHINSKY JAYNE
                                                                                                       Attorney for Defendant
                                                             6                                         CLARENCE LEE ANDREWS

                                                             7

                                                             8

                                                             9
                                                            10

                                                            11
          JAYNE LAW GROUP, P.C.




                                                            12
                              OAKLAND, CALIFORNIA 94607
                                483 9TH STREET, SUITE 200




                                                            13
LAW OFFICES




                                                            14

                                                            15

                                                            16

                                                            17

                                                            18

                                                            19

                                                            20

                                                            21

                                                            22

                                                            23

                                                            24

                                                            25

                                                            26

                                                            27

                                                            28                                                       NOTICE OF ATTORNEY APPEARANCE
                                                                                                                                 Case No. CR 14-094 YGR
